             Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 1 of 7




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    In re:                                        §         Chapter 11
                                                  §
    CORE SCIENTIFIC, INC., et al.,                §         Case No. 22-90341 (DRJ)
                                                  §
    Debtors.1                                     §         (Jointly Administered)
                                                  §
                                                  §

                         COMMITTEE’S WITNESS AND EXHIBIT LIST
                           FOR HEARING ON FEBRUARY 1, 2023

                  The Official Committee of Unsecured Creditors (the “Committee”) for Core

Scientific, Inc. and its debtor affiliates in the above-captioned chapter 11 cases, as debtors and

debtors in possession (collectively, the “Debtors”), files this witness and exhibit list (the “Witness

and Exhibit List”) for the final hearing to consider the Emergency Motion of Debtors for Entry of

Interim and Final Orders (A) Authorizing the Debtors to Obtain Postpetition Financing, (B)

Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens and Providing Claims with

Superpriority Administrative Expense Status, (D) Granting Adequate Protection to Prepetition

Secured Parties, (E) Modifying the Automatic Stay, (F) Scheduling a Final Hearing, and (G)

Granting Related Relief [ECF No. 38] scheduled for February 1, 2023 at 12:30 p.m. (Prevailing

Central Time) (the “Final Hearing”):

                                                 WITNESSES

                  The Committee may call any of the following witnesses at the Final Hearing:



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific Specialty
Mining (Oklahoma) LLC (4327); American Property Acquisitions, LLC (0825); Starboard Capital LLC (6677);
RADAR LLC (5106); American Property Acquisition I, LLC (9717); and American Property Acquisitions, VII, LLC
(3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs Road, Suite 300, Austin, Texas
78704.
Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 2 of 7




     1.    John Singh, Partner, PJT Partners Inc.;

     2.    Rodi Blokh, Partner, AlixPartners, LLP;

     3.    Adam Verost, Ducera Partners LLC;

     2.    Any witness called or listed by any other party; and

     3.    Any rebuttal witnesses.




                                     -2-
     Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 3 of 7




                                     EXHIBITS

          The Committee may offer into evidence any one or more of the following exhibits:




                                                                    OBJECTION


                                                                                ADMITTED
                                                          OFFERED
EXHIBIT
  NO.




                         DESCRIPTION                                                       DATE

          UCC 0001 - Notice of Deposition of John
    1
          Singh
          UCC 0002 - Notice of Rule 30(b)(6)
    2
          Deposition of the Debtors
          UCC 0003 - Declaration of John Singh in
          Support of Emergency Motion of Debtors for
          Entry of Interim and Final Orders (A)
          Authorizing the Debtors to Obtain
          Postpetition Financing, (B) Authorizing the
          Debtors to Use Cash Collateral, (C) Granting
    3     Liens and Providing Claims With
          Superpriority Administrative Expense Status,
          (D) Granting Adequate Protection to the
          Prepetition Secured Parties, (E) Modifying
          the Automatic Stay, (F) Scheduling a Final
          Hearing, and (G) Granting Related Relief
          [ECF No. 98]
          UCC 0004 – December 14, 2022 Project
    4
          Cobalt DIP Discussion Materials
          UCC 0005/5A – December 9, 2022 Letter
    5     from K. Hansen to R. Schrock re: Core
          Scientific, Inc. Convertible Notes
          UCC 0006/6A – December 10, 2022 Project
    6     Cobalt Special Committee Discussion
          Materials
          UCC 0008/8A – December 15, 2022 Project
    7     Cobalt Special Committee Discussion
          Materials
          UCC 009/9A – December 18, 2022 Project
    8     Cobalt Special Committee Discussion
          Materials




                                         -3-
Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 4 of 7




     UCC 0014 – December 20, 2022 Project
9
     Cobalt DIP Budget Assumptions
     UCC 0015 – Notice of Filing of Initial DIP
10
     Budget [ECF No. 97]
     UCC 0016 – January 18, 2023 Draft
11   Proposed DIP Budget Update to Current
     Approved DIP Budget
     January 17, 2023 Weekly Liquidity Update
12
     Variance Report & Preliminary Outlook
     Interim Order (I) Authorizing the Debtors to
     (A) Obtain Senior Secured Priming
     Superpriority Postpetition Financing and (B)
     Use Cash Collateral, (II) Granting Liens and
     Providing Claims With Superpriority
13   Administrative Expense Status, (III) Granting
     Adequate Protection to the Prepetition
     Secured Parties, (IV) Modifying the
     Automatic Stay, (V) Scheduling a Final
     Hearing, and (VI) Granting Related Relief
     [ECF No. 130]
     Notice of Corrections to DIP Credit
14
     Agreement [ECF No. 188]
     Restructuring Support Agreement [ECF No.
15
     72]
     Transcript from January 25, 2023 Deposition
16
     of John Singh
     Transcript from January 25, 2023 Deposition
17
     of Rodi Blokh
     January 3, 2023 Project Muskogee Term
18
     Sheet
     Declaration of Adam W. Verost in Support of
     the Objection of the Official Committee of
19   Unsecured Creditors to Debtors’ Emergency
     Motion to Obtain Post-Petition Debtor-In-
     Possession Financing [ECF No. 364]
     Any pleading or other document filed with
     the Court on the docket of the above-
     captioned chapter 11 cases




                                     -4-
Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 5 of 7




    Any exhibit necessary to rebut the evidence
    or testimony of any witness offered or
    designated by any other party
    Any exhibit listed by any other party




                [Remainder of page intentionally left blank]




                                    -5-
       Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 6 of 7




                             RESERVATION OF RIGHTS

                The Committee reserves the right to call or to introduce one or more, or
 none, of the witnesses and exhibits listed above, and further reserves the right to
 supplement this list at any time prior to the hearing. The Committee reserves the right to
 offer into evidence any exhibit necessary to rebut evidence or testimony offered by any
 other party and any exhibits listed or used by any other party.

Dated: January 30, 2023
       Houston, Texas

                                            Respectfully submitted,

                                            /s/ Jennifer J. Hardy
                                            Jennifer J. Hardy (Texas Bar No. 24096068)
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                                            AND

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                                            Proposed Counsel to the Official Committee of
                                            Unsecured Creditors




                                              -6-
       Case 22-90341 Document 380 Filed in TXSB on 01/30/23 Page 7 of 7




                                    Certificate of Service

I hereby certify that on January 30, 2023, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                            /s/ Jennifer J. Hardy
                                            Jennifer J. Hardy
